Case 1:17-cv-01224-TSE-I\/|SN Document 55 Filed 11/27/18 Page 1 of 2 Page|D# 1106

IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA
Alcxandria Division

MICROSOFT CORP., )
Plaintiff, )
)
v. ) Case No. 1:17cv1224
)
JOHN DOES 1-2, et al., )
Defendants. )
)
)
)
ORDER

On October 31, 2018, United States Magistrate Judge Michael Nachmanoff entered
a Report and Recommendation (“Report”), recommending that plaintist motion for
default judgment be granted as to plaintiffs Computer Fraud and Abuse Act, Electronic
Communications Privacy Act, Lanham Act, conversion and trespass, unjust enrichment
and tortious interference claims, and that plaintiffs proposed permanent injunction be
entered.

Upon consideration of the record and Judge Nachmanoff's thorough and WelI-

reasoned Report, to which no objections have been filed, and having found no clear error,]

 

1 See Diamond v. Colonial Life & Acc. Ins. Co. , 416 F.3d 310, 315 (4th Cir. 2005) (in the absence
of any objections to a magistrate’s report, the court “need not conduct a de novo review, but instead
must ‘only satisfy itself that there is no clear error on the face of the record in order to accept the
recommendation.”’).

Case 1:17-cv-01224-TSE-I\/|SN Document 55 Filed 11/27/18 Page 2 of 2 Page|D# 1107

The Court ADOPTS, as its own, the findings of fact and recommendations of the
United States Magistrate Judge, as set forth in the Report (Doc. 54).

Accordingly,

It is hereby ORDERED that plaintiffs motion for default judgment (Doc. 46) is
GRANTED.

lt is further ORDERED that plaintiffs motion for permanent injunction (Doc. 48)
is GRANTED.2

Final judgment and the permanent injunction shall issue by separate order.
Plaintiff’s counsel is required, however, to provide a copy of these orders to defendants by
appropriate means.

The Clerk is further directed to provide a copy of this Order to all counsel of record,

and to place this matter among the ended causes.

Alexandria, Virginia _ BL
November 27, 2018 T- S- Euls» m
United states nis ct Judge

 

2 Based on the factual findings made by Judge Nachmanoff, plaintiff has clearly established each
of the factors warranting entry of a permanent injunction. See eBay Inc. v. MercExchange, L.L. C. ,
547 U.S. 388, 391 (2006) (“A plaintiff must demonstrate: (l) that it has suffered an irreparable
inj ury; (2) that remedies available at law are inadequate; (3) considering the hardships between
plaintiff and defendant, a remedy in equity is warranted; and (4) the public interest would not be
disserved by a permanent injunction”).

